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                                                       THE HONORABLE JOHN C. COUGHENOUR
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 6
                                   UNITED STATES DISTRICT COURT
 7
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE

 9      UNITED STATES OF AMERICA,                             CASE NO. CR16-0136 JCC
10
                                  Plaintiff,                  ORDER CONTINUING TRIAL
11
                v.
12
        TOMAS MEZA-DE LA CRUZ, et al.,
13
                                  Defendants.
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15          Having considered Defendants’ unopposed joint motion to continue trial and extend the

16 pretrial motions deadline, (Dkt. No. 43), and the records and files herein, the Court hereby makes

17 the following findings:

18      1. A significant amount of evidence has been produced in this matter during discovery.
19          (Dkt. No. 43 at 2.)
20      2. Reviewing this evidence will be unusually time-consuming because Defendants are
21          detained at the Federal Detention Center in Seattle, require a Spanish interpreter, and
22          certain evidence is subject to a protective order. (Id.)
23          The Court finds that a failure to grant a continuance would deny counsel’s reasonable
24 need for additional time to properly review and analyze discovery, conduct legal research,

25 complete investigation, advise their clients, and adequately prepare their defenses taking into

26 account the exercise of due diligence. 18 U.S.C. §§ 3161(h)(7)(B)(i), (iv). The Court therefore



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 1 finds that the ends of justice will be served by continuing the trial date in this case and that this

 2 outweighs the best interests of the Defendants and the public in a more speedy trial.

 3 § 3161(h)(7)(A).

 4          IT IS THEREFORE ORDERED that Defendants’ unopposed joint motion is GRANTED.
 5 The trial date in this matter is continued from July 18, 2016 to November 7, 2016 at 9:30 a.m.

 6 All pretrial motions shall be filed no later than September 30, 2016.

 7          IT IS FURTHER ORDERED that the period of time from the date of this Order through
 8 the new trial date of November 7, 2016, shall be excludable time pursuant to the Speedy Trial
 9 Act, 18 U.S.C. § 3161, et seq.

10          DATED this 21st day of June 2016.
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                                                           A
                                                           John C. Coughenour
17                                                         UNITED STATES DISTRICT JUDGE
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